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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 14-MC-24887-PAS

 IN RE APPLICATION OF
 HORNBEAM CORPORATION

 REQUEST FOR DISCOVERY PURSUANT
 TO 28 U.S.C. § 1782
 ____________________________________/

    INTERVENORS HALLIWEL AND SYMEOU’S NOTICE OF SETTING OF ORAL
       ARGUMENT BEFORE THE ELEVENTH CIRCUIT IN RELATED CASE

         Intervenors Halliwel Assets, Inc. (“Halliwel”) and Panikos Symeou (“Symeou”) inform

 this Court that, on April 11, 2016, the Eleventh Circuit Court of Appeal gave notice that it

 tentatively has reset oral argument in the appeal of the related case styled Halliwell Assets, Inc.,

 et al v. Bracha Foundation, Case No., 15-14913 (“the Related Case”), for the week of July 11,

 2016. The Intervenors Halliwel and Symeou will continue to keep this Court informed of any

 decisions or relevant orders rendered by the Eleventh Circuit Court of Appeal in the Related

 Case.

 Dated: April 11, 2016

                                                      Respectfully submitted,
                                                      ASTIGARRAGA DAVIS MULLINS &
                                                      GROSSMAN, P.A.
                                                      Attorneys for Halliwel Assets, Inc. and
                                                      Panikos Symeou
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                                                      /s/ Edward M. Mullins
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                                                      Email: emullins@astidavis.com
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via

 electronic filing using the CM/ECF filing system with the Clerk of the Court, which sent email

 notification of such filing to all CM/ECF participants in this case listed on the Service List on

 April 11, 2016.

                                                     s/Edward M. Mullins
                                                     Edward M. Mullins
                                                     Florida Bar No. 863920

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